                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA
                         CIVIL ACTION NO. 1:23-cv-00077


 AMY BRYANT, MD,                            )
                                            )
               Plaintiff,                   )          DEFENDANT MEDICAL
 v.                                         )          BOARD’S STATEMENT
                                            )            IN RESPONSE TO
 JOSHUA H. STEIN, in his official           )        DEFENDANT-INTERVENORS’
 capacity as Attorney General for the State
                                            )           MOTION TO DISMISS
 of North Carolina, et al.,
                                            )
               Defendants.                  )
 _____________________________________ )



      This Statement is submitted on behalf of Defendant, Michaux R. Kilpatrick, in her

official capacity as President of the North Carolina Medical Board, and Defendants

Christine M. Khandelwal, Devdutta G. Sangvai, John W. Rusher, William M. Brawley, W.

Howard Hall, Sharona Y. Johnson, Joshua D. Malcolm, Miguel A. Pineiro, Melinda H.

Privette, Anuradha Roa-Patel, Robert Rich, Jr., in their official capacity as board members

of the North Carolina Medical Board (collectively, “the Medical Board”), by and through

undersigned counsel. On March 24, 2023, Defendant-Intervenors Philip E. Berger,

President Pro Tempore of the North Carolina Senate, and Timothy K. Moore, Speaker of

the North Carolina House of Representatives, filed a Motion to Dismiss. (D.E. 53) The

Medical Board hereby notifies the Court and counsel that it takes no position on Defendant-

Intervenors’ Motion to Dismiss.




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Respectfully submitted, this 14th day of April 2023.

                                                JOSHUA H. STEIN
                                                Attorney General

                                                /s/ Michael Bulleri
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                                                Board




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